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CASE NAME:
ACIS Capital Management , L.P.

 

CASE NUMBER:
18-30264-SGJ-11

 

UNITED STATES BANKRUPTCY COURT
NORTHERN AND EASTERN DISTRICTS
DALLAS AND TYLER DIVISONS

FOR POST CONFIRMATION USE

QUARTERLY OPERATING REPORT
AND
QUARTERLY BANK RECONCILEMENT
In accordance with Title 28, Section 1746, of the United States Code, I declare under penalty of perjury that I have
examined the attached Post Confirmation Quarterly Operating Report, and the Post Confirmation Quarterly Bank

Reconcilement and, to the best of my knowledge, these documents are true, correct and complete. Declaration of the
preparer (other than responsible party), is based on all information of which preparer has any knowledge.

RESPONSIBLE PARTY:
Original Signature of Responsible Party JA

 

 

 

 

© U
Printed Name of Responsible Party aeaite Terry
Title President of Shorewood GP, LLC
Date 9/30/2021
PREPARER: Joshua N Terry

Original Signature of Preparer

 

Printed Name of Preparer Joshua N Terry
Title President of Shorewood GP, LLC

Date 9/30/2021

 

 
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POST CONFIRMATION
QUARTERLY OPERATING REPORT

 

CASE NAME:
ACIS Capital Management, L.P.

 

 

 

(CASE NUMBER:
18-30264-SGJ-11

QUARTER ENDING: 09/30/2021

| BEGINNING OF QUARTER CASH BALANCE:

CASH RECEIPTS:
CASH RECEIPTS DURING CURRENT QUARTER:
(a). Cash receipts from business operations
(b). Cash receipts from loan proceeds
(c). Cash receipts from contributed capital
(d). Cash receipts from tax refunds
(e). Cash receipts from other sources
2 TOTAL CASH RECEIPTS

CASH DISBURSEMENTS:

(A). PAYMENTS MADE UNDER THE PLAN:

(I). Administrative

(2). Secured Creditors

(3). Priority Creditors

(4). Unsecured Creditors

(5). Additional Plan Payments

(B). OTHER PAYMENTS MADE THIS QUARTER:
(1). General Business

(2). Other Disbursements (US Trustee Fees)

3 TOTAL DISBURSEMENTS THIS QUARTER

4 CASH BALANCE END OF QUARTER

 

 

$29,032.

.00

$0.00
032.52

.00
18,460.
$0.00
$18,460.
948,352.

 

 

 

 

 
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POST CONFIRMATION
QUARTERLY BANK RECONCILEMENT

 

ICASE NAME:
JACIS Capital Management , L.P.

 

CASE NUMBER:
]13-30264-SGJ-11

 

 

 

‘The reorganized debtor must complete the reconciliation below for each bank account, including all general. payroll

and tax accounts, as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental
obligations, etc. Accounts'with restricted funds should be identified by placing an asterisk next to the account number.

Attach additional sheets for each bank reconcilement if necessary.

Number of Last

Total Cash - End Of Month

9

10
11
12
13
\4

 

**** Must tie to Line 4, Quarterly Operating Report

 

 

 

 

 

 
